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                                                                                                    United States District Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                                                                                                       August 21, 2017
                               IN THE UNITED STATES DISTRICT COURT
                                                                                                      David J. Bradley, Clerk
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

SIGMA DEVELOPMENT                                                               §
CORPORATION                                                                     §
        Plaintiff,                                                              §
                                                                                §
v.                                                                              §   CIVIL ACTION NO. H-16-2555
                                                                                §
TGP SECURITIES, et al.,                                                         §
         Defendants.                                                            §

                                               MEMORANDUM AND ORDER

            This case was referred to United States Magistrate Judge Dena Palermo

pursuant to 28 U.S.C. § 636(b)(1) by Order [Doc. # 24] entered November 4, 2016.

On July 28, 2017, Magistrate Judge Palermo issued a Report and Recommendation

[Doc. # 44], recommending that this Court grant in part and deny in part Defendants’

Motion to Dismiss [Doc. # 16]. The deadline for objections to the Report and

Recommendation has expired without any objections being filed. The Court finds that

the Magistrate Judge’s Report and Recommendation is well founded, and that the

Magistrate Judge’s recommended disposition should be adopted.1 It is therefore

            ORDERED that the Report and Recommendation [Doc. # 44] is ADOPTED

as this Court’s Memorandum and Order. It is further


1
            Since there are no objections, the Court has not made a de novo review of this matter.
            See 28 U.S.C. § 636(b)(1).
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            ORDERED that Defendants’ Motion to Dismiss [Doc. # 16] is DENIED as to

the challenge to personal jurisdiction and as to the claims for negligent

misrepresentation, fraudulent misrepresentation, violation of the Texas Deceptive

Trade Practices Act, common law fraud, and unjust enrichment and is GRANTED as

to the claims for conversion, breach of fiduciary duty, violation of the Texas Securities

Act, and fraudulent inducement. It is further

            ORDERED that Plaintiff’s disgorgement claim is DISMISSED as withdrawn.

            SIGNED at Houston, Texas, this 21st day of August, 2017.




                                                                                             NAN Y F. ATLAS
                                                                                    SENIOR UNI   STATES DISTRICT JUDGE




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